Filed 8/26/24 P. v. Soto-Enriquez CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----




    THE PEOPLE,                                                                                C100295

                    Plaintiff and Respondent,                                      (Super. Ct. No. 06F05369)

           v.

    MIGUEL SOTO-ENRIQUEZ,

                    Defendant and Appellant.




         Defendant Miguel Soto-Enriquez appeals from a postconviction order dismissing
his petition for resentencing pursuant to Penal Code1 section 1170, subdivision (d).
Appointed counsel for defendant asked this court to independently review the record
pursuant to People v. Delgadillo (2022) 14 Cal.5th 216, 231-232 (Delgadillo) to
determine whether there are any arguable issues on appeal. Defendant has filed a




1        Further undesignated statutory references are to the Penal Code.

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supplemental brief arguing his attorney failed to inform him of the need to submit
information concerning his remorse and asking for remand to allow the trial court to
consider his letter of remorse filed with the trial court after the dismissal of his petition.
We have considered defendant’s arguments and affirm the trial court’s dismissal without
prejudice. (Id. at pp. 231-232.)
                   FACTUAL AND PROCEDURAL BACKGROUND
       In April 2008, a jury convicted defendant of committing first degree murder and
attempted murder. The jury also found numerous enhancements true. In May 2008, the
trial court sentenced him to an aggregate prison term of life without the possibility of
parole plus 50 years to life plus 17 years. We upheld this judgment on appeal. (People v.
Soto-Enriquez (July 8, 2009, C059155) [nonpub. opn.].)
       Defendant was resentenced on June 3, 2016, following a successful petition for
writ of habeas corpus, to an aggregate term of 75 years to life plus 17 years.
       On September 21, 2022, defendant filed a petition for resentencing pursuant to
section 1170. There is no indication in the record that he was appointed counsel in the
trial court to represent him regarding the petition. On November 9, 2022, the trial court
denied his petition because it found it lacked jurisdiction to hear it, and this court
reversed for further proceedings in light of the People’s concession that defendant was
eligible for resentencing under section 1170, subdivision (d). (People v. Soto-Enriquez
(Sept. 15, 2023, C097478) [nonpub. opn.].)
       Defendant refiled his petition for resentencing pursuant to section 1170 on
October 24, 2023. There is no indication in the record he was appointed counsel in the
trial court to represent him regarding the petition.
       On December 28, 2023, the trial court issued a written order determining that
while defendant met the age requirements and had originally been sentenced to life
without the possibility of parole, defendant’s petition failed to include information



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meeting other statutory requirements for resentencing.2 The statute directed in these
circumstances that “ ‘the court shall return the petition to the defendant and advise the
defendant that the matter cannot be considered without the missing information.’
(§ 1170, subd. (d)(3).)” Accordingly, the trial court dismissed defendant’s petition
without prejudice and directed a copy of his petition be returned to him. Defendant
appeals.
                                       DISCUSSION
         Defendant’s appointed counsel has asked this court to conduct an independent
review of the record to determine whether there are any arguable issues on appeal.
(Delgadillo, supra, 14 Cal.5th at pp. 231-232; People v. Wende (1979) 25 Cal.3d 436.)
Defendant was advised by counsel and this court of his right to file a supplemental brief
within 30 days from the date the opening brief was filed. Defendant filed a supplemental
brief.
         In Wende, our Supreme Court held that “Courts of Appeal must conduct a review
of the entire record whenever appointed counsel submits a brief on direct appeal which
raises no specific issues or describes the appeal as frivolous.” (Delgadillo, supra,
14 Cal.5th at p. 221.) The Wende procedure applies “to the first appeal as of right and is
compelled by the constitutional right to counsel under the Fourteenth Amendment of the
United States Constitution.” (Delgadillo, at p. 221.)
         In Delgadillo, our Supreme Court considered whether the Wende process applies
to a trial court’s order denying a petition for postconviction relief under section 1172.6
and concluded it is not required. (Delgadillo, supra, 14 Cal.5th at pp. 221-222.) The
Supreme Court laid out applicable procedures for such cases, saying, where a defendant



2     Specifically, defendant failed to include both “a statement ‘describing [his]
remorse and work towards rehabilitation’ ” and “a statement indicating any of the
circumstances listed in [section 1170, subdivision (d)(2)](A)-(D) are true.”

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has filed a supplemental brief, “the Court of Appeal is required to evaluate the specific
arguments presented in that brief and to issue a written opinion,” but the filing of a
supplemental brief alone does not compel the court to “independent[ly] review the entire
record to identify unraised issues,” although it may exercise its discretion to do so. (Id. at
p. 232.)
       Delgadillo addressed the application of Wende’s review procedures in the specific
context of a postconviction relief order under section 1172.6. (Delgadillo, supra,
14 Cal.5th at p. 231, fn. 5 [“In this case, we are not deciding Wende’s application to other
postconviction contexts, which may present different considerations”].) Although this is
not the type of postconviction order at issue here, the same principles may apply, given
that this was not defendant’s first appeal of right. Following Delgadillo’s guidance, we
shall consider the arguments defendant raises in his supplemental brief.
       Defendant complains his attorney did not tell him of the need to submit a
statement regarding his remorse and asks this court to remand for further proceedings so
that the trial court may consider his letter of remorse filed with the trial court after
dismissal. First, the record does not reflect that defendant was represented by counsel in
the trial court, and thus, he does not have an ineffective assistance of counsel claim for a
trial court attorney failing to identify the deficiencies in his petition. To the extent
defendant is complaining about the representation of his court appointed appellate
counsel for his appeal in case No. C097478, he obtained reversal of the trial court’s
previous denial of his resentencing petition. (People v. Soto-Enriquez, supra, C097478.)
Thus, defendant did not receive ineffective assistance of counsel. (Strickland v.
Washington (1984) 466 U.S. 668, 687-692 [ineffective assistance of counsel claim
requires attorney’s deficient performance and prejudice arising from that performance].)
       Moreover, defendant’s arguments ignore that, in accordance with the procedures
outlined in section 1170, subdivision (d)(3), the trial court’s dismissal was without
prejudice to his filing a new petition for resentencing correcting the omissions identified

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by the court’s December 2023 order. These omissions included a statement of remorse
and a statement indicating that any of the circumstances listed in section 1170,
subdivision (d)(2)(A)-(D) were true. Defendant’s petition “cannot be considered without
the missing information.” (§ 1170, subd. (d)(3).) Thus, it is incumbent upon him to
refile his petition with the identified missing information as contemplated by the statute.
                                      DISPOSITION
       The trial court’s dismissal of defendant’s resentencing petition without prejudice is
affirmed.




                                                  /s/
                                                  ROBIE, Acting P. J.



We concur:



/s/
MAURO, J.



/s/                         ,
DUARTE J.




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